Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 1 of 19 Page ID #155



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF ILLINOIS

                                        )
  CATHERINE ALEXANDER,                  )
                                        )
                  Plaintiff,            )
                                        )
          vs.                           )
                                        )
  TAKE-TWO INTERACTIVE SOFTWARE, )                        Case No. 3:18-cv-00966
  INC.; 2K GAMES, INC.; 2K SPORTS INC.; )
  WORLD WRESTLING ENTERTAINMENT, )
  INC.; VISUAL CONCEPTS                 )
  ENTERTAINMENT; YUKE’S CO., LTD.;      )
  YUKES LA INC.,                        )
                                        )
                Defendants.             )
                                        )

  ______________________________________________________________________

     WORLD WRESTLING ENTERTAINMENT, INC.’S MEMORANDUM OF LAW
  IN SUPPORT OF MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
  ______________________________________________________________________



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Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 2 of 19 Page ID #156



                                                TABLE OF CONTENTS
                                                                                                                                   Page
  I.     INTRODUCTION ...............................................................................................................1
  II.    ARGUMENT .......................................................................................................................2
         A.        Standard of Review ..................................................................................................2
         B.        This Court Lacks Personal Jurisdiction Over WWE ...............................................4
                   1.         Plaintiff Has Not Demonstrated, and Cannot Demonstrate, this Court’s
                              General Jurisdiction Over WWE .................................................................4
                   2.         Plaintiff Has Not Demonstrated, and Cannot Demonstrate, this Court’s
                              Specific Jurisdiction Over WWE .................................................................5
                              a.         Plaintiff Has Failed to Establish that WWE Purposefully
                                         Directed Any Activities Toward Illinois From Which Plaintiff’s
                                         Claim Arose .....................................................................................5
                              b.         WWE’s Re-Sale of the Video Games Through WWE’s Website
                                         Cannot Establish Specific Jurisdiction Over WWE.........................7
                              c.         Plaintiff’s Residence in Illinois Is Insufficient to Establish
                                         Specific Jurisdiction Over WWE .....................................................8
  III.   CONCLUSION ..................................................................................................................14




                                                                   i
Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 3 of 19 Page ID #157
   



                                                  TABLE OF AUTHORITIES

                                                                                                                                     Page(s)

  Cases

  Advanced Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc.,
     751 F.3d 796 (7th Cir. 2014) ......................................................................................... 3, 4, 7-8

  Ariel Investments, LLC v. Ariel Capital Advisors LLC, 881 F.3d 520
     (7th Cir. 2018)........................................................................................................................2, 8

  be2 LLC v. Ivanov, 642 F.2d 555 (7th Cir. 2011) ......................................................................8, 12

  Bristol-Myers Squibb Co. v. Superior Ct. of Cal., 137 S. Ct. 1773 (2017) .....................................6

  Brook v. McCormley, 873 F.3d 549 (7th Cir. 2017) ................................................................2, 3, 9

  Calder v. Jones, 465 U.S. 783 (1984) .................................................................................... passim

  Colo’n v. Akil, 449 Fed. Appx. 511 (7th Cir. 2011) .............................................................. 6-7, 14

  Daimler AG v. Bauman, 571 U.S. 117 (2014) .............................................................................4, 7

  GCIU-Emp’r Ret. Fund v. Goldfarb Corp., 565 F.3d 1018 (7th Cir. 2009) ....................................4

  Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 95 (2011) ........................................3

  Gullen v. Facebook.com, Inc., No. 15 C 7681, 2016 WL 245910
     (N.D. Ill. Jan. 21, 2016) .............................................................................................................8

  Johnson v. Barrier, No. 15-CV-03928, 2016 WL 3520157
     (N.D. Ill. June 28, 2016) .................................................................................................. passim

  Labtest Int’l, Inc. v. Centre Testing Int’l Corp., 766 F. Supp. 2d 854
     (N.D. Ill. 2011)...........................................................................................................................2

  Mobile Anesthesiologists Chicago, LLC v. Anesthesia Assocs. Of Houston
    Metroplex, P.A., 623 F.3d 440 (7th Cir. 2010) ........................................................9, 10, 13, 14

  Novelty, Inc. v. RCB Distrib., Inc., No. 1:08-cv-0418-DFH-WTL,
     2008 WL 2705532 (S.D. Ind. July 9, 2008).................................................................10, 11, 14

  Original Creations, Inc. v. Ready America, Inc., 836 F. Supp. 2d 711
     (N.D. Ill. 2011)...........................................................................................................................7

  Purdue Research Found. v. Sanofi-Synthelabo, S.A., 338 F.3d 773 (7th Cir. 2003) ...............3, 4, 5

  RAR, Inc. v. Turner Diesel, Ltd., 107 F. 3d 1272 (7th Cir. 1997)..................................................14


                                                                        ii
Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 4 of 19 Page ID #158
   


  Richter v. INSTAR Enters. Int’l, Inc., 594 F. Supp. 2d 1000 (N.D. Ill. 2009) ...............................10

  Telemedicine Solutions LLC v. WoundRight Technologies, LLC,
      27 F. Supp. 3d 883 (N.D. Ill. 2014) ...............................................................................9, 12, 13

  Toma v. Motley Crue, Inc., No. 11 C 6766, 2012 WL 4793508
     (N.D. Ill. Oct. 9, 2012) .........................................................................................................7, 10

  Tomelleri v. MEDL Mobile, Inc., No. 2:14-CV-02113-JAR, 2015 WL 1957801
     (D. Kan. Apr. 29, 2015) ...........................................................................................................11

  Walden v. Fiore, 134 S. Ct. 1115 (2014) ............................................................................... passim

  Walker v. Macy’s Merch. Grp., Inc., No. 14 C 2513, 2016 WL 6089736
     (N.D. Ill. Oct. 12, 2016) .............................................................................................................6

  Weller v. Flynn, No. 17-cv-8799, 2018 WL 2299240 (N.D. Ill. May 21, 2018) .................4, 5, 6, 7

  Wilson v. Nouvag GMBH, No. 15-CV-11700, 2018 WL 1565602
     (N.D. Ill. Mar. 30, 2018) ............................................................................................................6

  Other Authorities

  5 Patry on Copyright § 17:167 .......................................................................................................11

  Fed. R. Civ. P. 12 ...............................................................................................................2, 3, 4, 12




                                                                       iii
Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 5 of 19 Page ID #159
                                                                         
                                                                                                             

                                      I.      INTRODUCTION

         Plaintiff alleges that she owns a federal copyright in various tattoos she inked on the body

  of World Wrestling Entertainment, Inc. (“WWE”) Superstar, Randy Orton, and that the accurate

  depiction of Randy Orton — with his tattoos — in the videogames WWE 2K16, WWE 2K17,

  and WWE 2K18 (the “Video Games”) constitutes willful copyright infringement. The

  implication of Plaintiff’s claim is that she effectively would own a monopoly over the depiction

  of Randy Orton as he appears in real life in any media. This outcome is legally and practically

  implausible.

         Notwithstanding the troubling issues raised by the merits of Plaintiff’s claims, the claims

  asserted against WWE can — and should — be summarily disposed of for the straightforward

  reason that this Court lacks personal jurisdiction over WWE. WWE is subject to neither general

  nor specific jurisdiction in Illinois. As for general jurisdiction, WWE is a Delaware corporation

  with its principal place of business in Connecticut and consequently, under recent U.S. Supreme

  Court precedent, WWE is not “at home” in Illinois so as to be subject to general jurisdiction. As

  for specific jurisdiction, the Complaint fails to allege any litigation-specific conduct of WWE in,

  or purposefully directed towards, Illinois — much less that WWE’s “suit-related conduct . . .

  create[s] a substantial connection with the forum State,” which the Supreme Court has ruled is

  necessary for a court to exercise specific jurisdiction consistent with due process. Walden v.

  Fiore, 134 S. Ct. 1115, 1121 (2014) (emphasis added).

         At bottom, Plaintiff appears to contend that the mere fact that Plaintiff allegedly resides

  in Illinois and therefore allegedly was injured in Illinois as a result of Defendants’ alleged

  copyright infringement is sufficient to subject WWE and the other Defendants to personal




   
Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 6 of 19 Page ID #160
   


  jurisdiction in Illinois. However, the Supreme Court and the Seventh Circuit have rejected this

  very argument. The Supreme Court has ruled that “the plaintiff cannot be the only link between

      the defendant and the forum. Rather, it is the defendant’s conduct that must form the necessary

  connection with the forum State that is the basis for its jurisdiction over him.” Id. at 1122; see

  also Brook v. McCormley, 873 F.3d 549, 552 (7th Cir. 2017) (“The mere fact that a defendant’s

  conduct affects a plaintiff with connections to the forum State is not sufficient to establish

  jurisdiction.”). In the absence of specifically-pled jurisdictional facts demonstrating WWE’s

  contacts to Illinois directly relating to the copyright infringement claims at issue, the claims

  against WWE should be dismissed for lack of personal jurisdiction.

            In addition to the Court’s lack of jurisdiction over WWE, so as not to unnecessarily

  burden the Court with duplicative filings, WWE adopts and incorporates by reference herein the

  arguments for dismissal pursuant to Fed. R. Civ. P. 12(b)(6) asserted in Section I of the

  Memorandum of Law in Support of Defendants Take-Two Interactive Software, Inc., 2K Games,

  Inc., 2K Sports, Inc., Visual Concepts Entertainment, Yuke’s Co., Ltd., and Yuke’s LA, Inc.’s

  Motion to Dismiss.

                                          II.     ARGUMENT

  A.        Standard of Review

            In federal question cases, where the federal statute at issue does not authorize nationwide

  service of process, personal jurisdiction is governed by the law of the forum state. Ariel

  Investments, LLC v. Ariel Capital Advisors LLC, 881 F.3d 520, 521-22 (7th Cir. 2018). “The

  Copyright Act does not provide for nationwide service of process;” as such, personal jurisdiction

  is governed by Illinois law. Labtest Int’l, Inc. v. Centre Testing Int’l Corp., 766 F. Supp. 2d 854,

  858 (N.D. Ill. 2011). “The Illinois long-arm statute permits the exercise of jurisdiction to the full



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Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 7 of 19 Page ID #161
   


  extent permitted by the Due Process Clause of the Fourteenth Amendment . . . . Thus, the state

  statutory and federal constitutional requirements merge.” Brook, 873 F.3d at 552. “The Due

  Process Clause of the Fourteenth Amendment limits the power of a court to render a judgment

  over nonresident defendants.” Id. “To determine this constitutional limitation, courts must

  determine whether the defendant had sufficient ‘minimum contacts [. . .] such that the

  maintenance of the suit does not offend traditional notions of fair play and substantial justice.’”

  Id. (citation omitted).

          Personal jurisdiction can be either “general” or “specific.” Goodyear Dunlop Tires

  Operations, S.A. v. Brown, 564 U.S. 95, 919 (2011). General jurisdiction “is proper only in the

  limited number of fora in which the defendant can be said to be ‘at home.’ For a corporation,

  such places include the state of incorporation and the state of the principal place of business.”

  Advanced Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d 796, 800 (7th

  Cir. 2014). In contrast, specific jurisdiction “refers to jurisdiction over a defendant in a suit

  arising out of or related to the defendant’s contacts with the forum.” Brook, 873 F.3d at 552

  (citation omitted); see also Advanced Tactical Ordnance Sys., 751 F.3d at 801 (“Specific

  jurisdiction must rest on the litigation-specific conduct of the defendant in the proposed forum

  state.”) (emphasis in original). Thus, “[t]he inquiry must focus on ‘the relationship among the

  defendant, the forum, and the litigation.’” Brook, 873 F.3d at 552 (quoting Walden, 134 S. Ct. at

  1122). “For a State to exercise jurisdiction consistent with due process, the defendant’s suit-

  related conduct must create a substantial connection with the forum State.” Walden, 134 S. Ct. at

  1121.

          When a “defendant moves to dismiss the complaint under Federal Rule of Civil

  Procedure 12(b)(2) for lack of personal jurisdiction, the plaintiff bears the burden of



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Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 8 of 19 Page ID #162
   


  demonstrating the existence of jurisdiction.” Purdue Research Found. v. Sanofi-Synthelabo,

  S.A., 338 F.3d 773, 782 (7th Cir. 2003). In analyzing a Rule 12(b)(2) motion to dismiss for lack

  of personal jurisdiction, “courts may consider matters outside of the pleadings.” Johnson v.

  Barrier, No. 15-CV-03928, 2016 WL 3520157, at *2 (N.D. Ill. June 28, 2016). Where the issue

  is decided on the basis of written materials rather than an evidentiary hearing, the plaintiff bears

  “the burden of making a prima facie case for personal jurisdiction.” Id. (citation omitted). “If

  the defendant offers evidence challenging personal jurisdiction, the plaintiff may not rest on the

  pleadings. . . . This Court accepts ‘as true any facts contained in the defendant’s affidavits that

  remain unrefuted by the plaintiff.’” Weller v. Flynn, No. 17-cv-8799, 2018 WL 2299240, at *5

  (N.D. Ill. May 21, 2018) (quoting GCIU-Emp’r Ret. Fund v. Goldfarb Corp., 565 F.3d 1018,

  1020 n.1 (7th Cir. 2009)).

  B.     This Court Lacks Personal Jurisdiction Over WWE

         1.      Plaintiff Has Not Demonstrated, and Cannot Demonstrate, this Court’s
                 General Jurisdiction Over WWE_____________________________________

         WWE is not subject to this Court’s general jurisdiction. As noted, general jurisdiction “is

  proper only in the limited number of fora in which the defendant can be said to be ‘at home.’

  For a corporation, such places include the state of incorporation and the state of principal place

  of business.” Advanced Tactical Ordnance Sys., 751 F.3d at 800; see also Daimler AG v.

  Bauman, 571 U.S. 117, 137 (2014) (“With respect to a corporation, the place of incorporation

  and principal place of business are ‘paradig[m] . . . bases for general jurisdiction.”). Because

  general jurisdiction allows a defendant to be sued in the forum “in any litigation arising out of

  any transaction or occurrence taking place anywhere in the world,” the constitutional

  requirement for general jurisdiction is very high and “‘considerably more stringent’ than that

  required for specific jurisdiction.” Purdue Research Found., 338 F.3d at 787 (citation omitted)

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Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 9 of 19 Page ID #163
   


  (emphasis in original).

          Here, Plaintiff admits that WWE is incorporated in Delaware and headquartered in

  Connecticut.    See Complaint ¶¶ 9, 10. Having admitted that Illinois is not a paradigm forum in

  which WWE is “at home” to subject it to general jurisdiction, the Complaint is otherwise devoid

  of facts to support the notion that WWE is “at home” in Illinois. Accordingly, Plaintiff has

  failed to demonstrate the Court’s general jurisdiction over WWE.

          2.      Plaintiff Has Not Demonstrated, and Cannot Demonstrate, this Court’s
                  Specific Jurisdiction Over WWE_____________________________________

                  a.      Plaintiff Has Failed to Establish that WWE Purposefully Directed
                          Any Activities Toward Illinois From Which Plaintiff’s Claim Arose

          Specific jurisdiction is only appropriate where (1) Defendant “‘purposefully directed’

  [its] activities at Illinois or purposefully availed [itself] ‘of the privilege of conducting business’

  in Illinois; and (2) Plaintiff’s injury arises out of [the Defendant’s] forum-related activities.”

  Weller, 2018 WL 2299240, at *7 (citation omitted). The plaintiff must show that each

  defendant’s individual contacts with the forum state meet this standard. See Purdue Research

  Found., 338 F.3d at 784 (“[E]ach defendant’s contacts with the forum State must be assessed

  individually.”) (citations omitted).

          Here, Plaintiff asserts the following jurisdictional allegations:

          28.     Defendants have engaged in conduct, giving rise to the claims herein, that
          satisfies the Illinois long-arm statute, including the commission of tortious acts
          within this State and the commission of tortious acts outside of this State knowing
          and intending that such acts would interfere with Illinois interests and cause injury
          within Illinois. Moreover, Defendants have purposefully availed themselves of
          the jurisdiction of this Court by transacting business in this District and the State
          of Illinois concerning the copyrighted works at issue.

          29.     The Defendants transacted business in this State.

          30.     The Defendants developed, promoted, distributed and marketed the
          Infringing Games, and contracted to supply the Infringing Games in this State.

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Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 10 of 19 Page ID #164
   



          31.     Each of the Infringing Games have been sold in this State.

  See Complaint ¶¶ 29-31. Such conclusory and boilerplate allegations as to the Defendants

  collectively fail to demonstrate that WWE individually purposefully directed any activities

  toward Illinois from which Plaintiff’s claim arose. See Wilson v. Nouvag GMBH, No. 15-CV-

  11700, 2018 WL 1565602, at *2 (N.D. Ill. Mar. 30, 2018) (“Factual assertions that amount only

  to ‘vague generalizations or unsupported allegations,’ are insufficient to support personal

  jurisdiction.”); see also Weller, 2018 WL 2299240, at *7 (finding “Plaintiff’s general allegation

  that all Defendants caused some injury in Illinois and/or targeted Illinois” insufficient to

  establish personal jurisdiction).

          Indeed, Plaintiff cannot simply assert that there is jurisdiction over WWE without

  demonstrating the specific activities that WWE has supposedly undertaken in Illinois with

  respect to the claims at issue. In point of fact, WWE has no role in the distribution or sale of the

  Video Games through retail outlets. See Declaration of Edward M. Kiang, Ex. 1 at ¶ 6.

  (emphasis added).1 Courts in the Seventh Circuit have consistently found no specific jurisdiction

  over out-of-state defendants on copyright infringement claims where the defendants, like WWE,

  did not direct the allegedly infringing activity toward Illinois. See Colo’n v. Akil, 449 Fed.

                                                              
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     WWE’s scant contacts with Illinois are predominately limited to (i) the promotion of a handful of WWE
  live events held in Illinois each year — specifically, WWE promoted 13 shows in Illinois in 2016, 14
  shows in 2017, and 11 shows in 2018; (ii) the availability of WWE programming, both through television
  and the WWE Network, to the same extent that such programming is available throughout the entire
  United States; and (iii) the accessibility of WWE’s website, www.wwe.com, to the same extent that the
  website is accessible throughout the entire United States. See Ex. 1 at ¶ 9. Such contacts with Illinois
  unconnected to the alleged infringement of Plaintiff’s copyrights in certain of Randy Orton’s tattoos are
  irrelevant to the Court’s specific jurisdiction analysis. See Bristol-Myers Squibb Co. v. Superior Ct. of
  Cal., 137 S. Ct. 1773, 1781 (2017) (“When there is no such connection [between the forum and the
  underlying controversy], specific jurisdiction is lacking regardless of the extent of a defendant’s
  unconnected activities in the State.”); see also Walker v. Macy’s Merch. Grp., Inc., No. 14 C 2513, 2016
  WL 6089736, at *3 (N.D. Ill. Oct. 12, 2016) (“The exercise of specific jurisdiction over an out-of-state
  defendant requires that the defendant’s contacts with the forum state directly relate to the challenged
  conduct or transaction.”)

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Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 11 of 19 Page ID #165
   


  Appx. 511, 514 (7th Cir. 2011) (affirming district court’s finding of no specific jurisdiction over

  defendants based on lack of evidence that they had anything to do with the broadcast of the

  allegedly infringing work in the forum state); Weller, 2018 WL 2299240, at *7 (finding no

  specific jurisdiction over producer in copyright infringement suit where they “played some role

  in the film’s production and it was distributed globally, including in Illinois,” but ultimately

  “made no creative contributions to the film’s storyline, exercised no control over the film’s

  production, never visited Illinois in connection with the film, and played no role in distributing

  or advertising the film”); Johnson, 2016 WL 3520157, at *5 (finding no specific jurisdiction over

  record label because plaintiff “fail[ed] to show that UMG — as opposed to any distribution

  affiliate — purposefully directed its activities toward Illinois”); Toma v. Motley Crue, Inc., No.

  11 C 6766, 2012 WL 4793508, at *2-3 (N.D. Ill. Oct. 9, 2012) (finding no specific jurisdiction

  over music group that allegedly used plaintiff’s copyrighted photograph on album cover without

  permission because group did not “aim” its allegedly infringing conduct at Illinois).

                 b.      WWE’s Re-Sale of the Video Games Through WWE’s Website
                         Cannot Establish Specific Jurisdiction Over WWE

         WWE has purchased limited quantities of the Video Games at wholesale and offered

  them for re-sale through WWE’s website. See Ex. 1 at ¶ 7. Such re-sale of the Video Games

  through WWE’s website cannot establish specific jurisdiction over WWE. “Seventh Circuit law

  . . . is clear that Internet sales, without something more, are not enough [to establish personal

  jurisdiction].” Original Creations, Inc. v. Ready America, Inc., 836 F. Supp. 2d 711, 715 (N.D.

  Ill. 2011). The Seventh Circuit has recognized that “if having an interactive website were

  enough . . . a plaintiff could sue everywhere. Such result would violate the principles on which

  Walden and Daimler rest. Having an ‘interactive website’ (which hardly rules out anything in

  2014) should not open a defendant up to personal jurisdiction in every spot on the planet where

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Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 12 of 19 Page ID #166
   


  that interactive website is accessible. To hold otherwise would offend ‘traditional notions of fair

  play and substantial justice.’” Advanced Tactical Ordnance Sys., 751 F.3d at 803 (citation

  omitted). Thus, “[i]f the defendant merely operates a website, even a ‘highly interactive’

  website, that is accessible from, but does not target, the forum state, then the defendant may not

  be haled into court in that state without offending the Constitution.” be2 LLC v. Ivanov, 642

  F.2d 555, 559 (7th Cir. 2011) (emphasis added); see also Ariel Investments, LLC, 881 F.3d at

  522 (“Knowing about a potential for harm in a particular state is not the same as acting in that

  state — and it takes the latter to permit personal jurisdiction under state law.”) .

          WWE does not specifically target its website toward Illinois (or any other state in the

  United States). See Ex. 1 at ¶ 8. In the absence of evidence that WWE specifically targeted

  Illinois for sales of the Video Games through its website, Plaintiff cannot meet her burden of

  proving that WWE has the requisite minimum contacts with Illinois sufficient to satisfy due

  process. See Johnson, 2016 WL 3520157, at *5 (dismissing case because “Plaintiff offer[ed] no

  evidence of geographically-focused targeting that could subject [defendant] to personal

  jurisdiction on the basis of its alleged online sales”); Gullen v. Facebook.com, Inc., No. 15 C

  7681, 2016 WL 245910, at *2 (N.D. Ill. Jan. 21, 2016) (“Because plaintiff does not allege that

  Facebook targets its alleged biometric collection activities at Illinois residents, the fact that its

  site is accessible to Illinois residents does not confer specific jurisdiction over Facebook.”).

                  c.      Plaintiff’s Residence in Illinois Is Insufficient to Establish Specific
                          Jurisdiction Over WWE

          Lacking allegations of any actual activities by WWE purposefully directed toward

  Illinois, Plaintiff’s assertion of personal jurisdiction over WWE appears to be fundamentally

  based on the fact that Plaintiff lives in Illinois and, therefore, supposedly was harmed in the state.

  This precise argument, however, has been squarely rejected by the Supreme Court and the

                                                     8
   
Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 13 of 19 Page ID #167
   


  Seventh Circuit.

         Significantly, “[t]he mere fact that a defendant’s conduct affects a plaintiff with

  connections to the forum State is not sufficient to establish jurisdiction.” Brook, 873 F.3d at 552;

  see also Walden, 134 S. Ct. at 1122 (“[T]he plaintiff cannot be the only link between the

  defendant and the forum. Rather, it is the defendant’s conduct that must form the necessary

  connection with the forum State that is the basis for its jurisdiction over him.”). Instead, “the

  relationship must arise out of contacts that the ‘defendant himself’ creates with the forum State.”

  Walden, 134 S. Ct. at 1122 (emphasis in original). “Due process requires that a defendant be

  haled into court in a forum State based on his own affiliation with the State, not based on the

  ‘random, fortuitous, or attenuated’ contacts he makes by interacting with other persons affiliated

  with the State.” Id. at 1123.

         Consistent with these principles, in Calder v. Jones, 465 U.S. 783 (1984), the Supreme

  Court articulated the “express aiming” test as a means to establish personal jurisdiction for

  intentional torts. Under this test, a plaintiff must establish: “(1) intentional conduct (or

  ‘intentional and allegedly tortious conduct’); (2) expressly aimed at the forum state; (3) with the

  defendant’s knowledge that the effects would be felt — that is, the plaintiff would be injured —

  in the forum state.” Telemedicine Solutions LLC v. WoundRight Technologies, LLC, 27 F. Supp.

  3d 883, 893 (N.D. Ill. 2014) (citation omitted). As applied by the Seventh Circuit, the express

  aiming test “focuses attention on whether the defendant intentionally aimed its conduct at the

  forum state, rather than on the possibly incidental and constitutionally irrelevant effects of that

  conduct on the plaintiff.” Mobile Anesthesiologists Chicago, LLC v. Anesthesia Assocs. Of

  Houston Metroplex, P.A., 623 F.3d 440, 445 n.1 (7th Cir. 2010).

         In Walden, the Supreme Court specifically rejected the argument that specific jurisdiction



                                                    9
   
Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 14 of 19 Page ID #168
   


  over a defendant was established under Calder’s “express aiming test” because the plaintiff

  allegedly suffered injury as a result of the defendant’s allegedly tortious conduct while residing

  in the forum state, the Supreme Court held:

         Calder made clear that mere injury to a forum resident is not a sufficient
         connection to the forum. Regardless of where a plaintiff lives or works, an injury
         is jurisdictionally relevant only insofar as it shows that the defendant has formed a
         contact with the forum State. The proper question is not where the plaintiff
         experienced a particular injury or effect but whether the defendant’s conduct
         connects him to the forum in a meaningful way.

  Walden, 134 S. Ct. at 1125; see also Mobile Anesthesiologists Chicago, 623 F.3d at 445 (“[W]e

  rejected the contention that Calder meant ‘any plaintiff may hale any defendant into court in the

  plaintiff’s home state, where the defendant has no contacts, merely by asserting that the

  defendant has committed an intentional tort against the plaintiff.”); Toma, 2012 WL 4793508, at

  *5 (“Our Court of Appeals has required plaintiffs to establish ‘something more’ than an injury in

  the forum state to support personal jurisdiction under Calder: the plaintiff must also establish

  ‘tortious conduct specifically directed at the forum, making the forum the focal point of the

  tort.’”) (emphasis in original). “Without intentional actions causing foreseeable harm in the

  forum state, there can be no personal jurisdiction under the [Calder] test.” Novelty, Inc. v. RCB

  Distrib., Inc., No. 1:08-cv-0418-DFH-WTL, 2008 WL 2705532, at *3-4 (S.D. Ind. July 9, 2008).

         WWE is not, and cannot be, subject to specific jurisdiction under the “express aiming”

  test on the copyright infringement claims at issue. As a threshold matter, courts have refused to

  apply the “express aiming” test to copyright claims in the first instance on the grounds that

  copyright infringement is not an intentional tort. See Richter v. INSTAR Enters. Int’l, Inc., 594

  F. Supp. 2d 1000, 1011 (N.D. Ill. 2009) (“[I]n stark contrast to Calder and Janmark, this case

  does not concern an intentional tort. Copyright infringement does not require any particular state

  of mind.”); Novelty, 2008 WL 2705532, at *4 (“[C]opyright infringement[ ] may occur

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Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 15 of 19 Page ID #169
   


  unintentionally.”); see also Tomelleri v. MEDL Mobile, Inc., No. 2:14-CV-02113-JAR, 2015 WL

  1957801, at *5 (D. Kan. Apr. 29, 2015) (“Copyright infringement . . . is a strict liability tort, not

  an intentional tort. As such, it is difficult to see how unintentional copyright infringement could

  satisfy the third prong of Calder’s effects test: a defendant can scarcely be deemed to have acted

  ‘with knowledge that the brunt of the injury would be felt in the forum state’ where the

  defendant did not intend to cause injury in the forum state — or anywhere else —at all.”). A

  leading copyright treatise has similarly criticized the use of Calder’s “express aiming” test as a

  basis for personal jurisdiction over foreign defendants, noting it is “deeply distressing to see

  courts flagrantly disregarding copyright’s long-standing nature [as a strict liability tort] in order

  to manipulate their own exercise of jurisdiction . . . . Calling copyright [infringement] an

  intentional tort doesn’t make it one; it isn’t, and it is well past the time when we should

  acknowledge that this emperor has no clothes and never has had any clothes: not only common

  sense and decency lead to this admission; constitutional due process concerns require it.” 5 Patry

  on Copyright § 17:167. Plaintiff’s claim of copyright infringement does not morph into an

  intentional tort for purposes of the “express aiming” test just because Plaintiff has alleged that

  WWE “knowingly and willfully infringed Plaintiff’s copyright” under 17 U.S.C. § 504. See

  Complaint ¶ 86. “This statute has no bearing on personal jurisdiction, and the statutory standard

  differs from what constitutional due process requires.” Novelty, 2008 WL 2705532, at *4 n.2

  (finding that an allegation of willfulness under § 504 did not convert plaintiff’s claim of

  copyright infringement into an intentional tort).

         Assuming arguendo the Court were to find that Plaintiff has alleged an intentional tort,

  Plaintiff nonetheless cannot establish jurisdiction under the “express aiming” test because

  Plaintiff has failed to establish that WWE “expressly aim[ed]” any allegedly infringing conduct



                                                      11
   
Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 16 of 19 Page ID #170
   


  toward Illinois. Notably, the mere availability of the Video Games through WWE’s website

  does not rise to the level of “express aiming” under Calder. See be2 LLC, 642 F.3d at 559

  (explaining that “a defendant must in some way target the forum state’s market”); Johnson, 2016

  WL 3520157, at *5 (“[A]llegations concerning the sale of [allegedly infringing] products

  through [defendant’s] website cannot, alone, establish specific jurisdiction over [defendant] . . . .

  Here, Plaintiff offers no evidence of geographically-focused targeting that could subject

  [defendant] to personal jurisdiction on the basis of its alleged online sales.”); Telemedicine, 27 F.

  Supp. 3d at 900 (finding defendant did not “expressly aim” its conduct at Illinois because

  “[n]one of Defendant’s alleged contacts — its website, Facebook page, Twitter feed, and

  conference-based marketing efforts — was targeted or aimed at Illinois, or prompted any more

  than happenstance interactions with Illinois residents or businesses.”).

         In this regard, the Northern District of Illinois’ opinion in Johnson is particularly

  instructive. In Johnson, the plaintiff sued, among other defendants, UMG Recordings, Inc.

  (“UMG”), for copyright infringement and other torts arising out of the alleged use of a sample of

  plaintiff’s sound recording in a song created by defendant-artists Eric B. and Rakim, and

  allegedly distributed and sold by UMG in Illinois through brick and mortar retailers and on the

  internet including through UMG’s own website. Johnson, 2016 WL 3520157, at *1-3. The

  Honorable Amy J. St. Eve granted UMG’s Rule 12(b)(2) motion to dismiss for lack of personal

  jurisdiction. See id. at *5. As pertinent here, the court found that, (a) with respect to brick and

  mortar retailers, the plaintiff “fail[ed] to show that UMG — as opposed to any distribution

  affiliate — purposefully directed its activities toward Illinois” (id. at *4), and (b) because

  plaintiff “offer[ed] no evidence of geographically-focused targeting” of Illinois, the “allegations

  concerning the sale of ‘Juice’ products through UMG’s website cannot, alone, establish specific



                                                    12
   
Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 17 of 19 Page ID #171
   


  jurisdiction over UMG” in Illinois (id. at *5). This same reasoning should apply to preclude

  specific jurisdiction over WWE here.

         Finally, the “express aiming” test requires “the defendant’s knowledge that the effects

  would be felt — that is, the plaintiff would be injured — in the forum state.” Telemedicine, 27

  F. Supp. 3d at 893 (citation omitted). In this case, however, WWE had no knowledge that

  Plaintiff would allegedly be injured in Illinois. Although Plaintiff avers that she contacted WWE

  in 2009, there is no allegation that she informed WWE that she lived in Illinois – even assuming

  Plaintiff resided in Illinois in 2009 — or that WWE otherwise knew the location of her

  residence. Courts have found that such generalized allegations of knowledge are insufficient

  under Calder. See, e.g., Telemedicine, 27 F. Supp. 3d at 897 (“To find express aiming based

  solely on the defendant’s receipt of [a cease and desist] letter would make any defendant accused

  of an intentional tort subject to personal jurisdiction in the plaintiff’s home state as soon as the

  defendant learns what that state is. Calder requires more.”) (citing Mobile Anesthesiologists

  Chicago, 623 F.3d at 447). Moreover, Mr. Kiang, WWE’s Vice President of Interactive Media

  Licensing since 2013, was not aware prior to the filing of this lawsuit that Randy Orton was

  tattooed by Plaintiff or that Plaintiff allegedly lives in Illinois. See Ex. 1 at ¶¶ 10, 11. Likewise,

  during Mr. Kiang’s tenure as WWE’s Vice President of Interactive Media Licensing, WWE’s

  consumer products group, including, in particular, the interactive licensing team that is

  responsible for the Video Games, was not informed that Randy Orton was tattooed by Plaintiff,

  let alone that she allegedly lives in Illinois. See id. at ¶¶ 12, 13. As such, there is no allegation,

  and no basis from which to reasonably infer, that WWE had knowledge that the effects of any

  alleged injury relating to the Video Games — WWE 2K16, WWE 2K17, and WWE 2K18 were

  each released during Mr. Kiang’s tenure as WWE’s Vice President of Interactive Media



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Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 18 of 19 Page ID #172
   


  Licensing — would be felt in Illinois. See Colo’n, 449 Fed. Appx. at 514 (affirming district

  court’s finding of no specific jurisdiction because plaintiff “did not show that the defendants

  acted ‘with the knowledge that they would cause harm to the plaintiff there’ . . . since the

  evidence was undisputed that none of the defendants knew of her or her script before [the

  plaintiff] filed her suit”) (quoting Mobile Anesthesiologists Chicago, 623 F.3d at 445); Novelty,

  2008 WL 2705532, at *3 (“Without intentional actions causing foreseeable harm in the forum

  state, there can be no personal jurisdiction under the [express aiming] test. Potential defendants

  should not come under the power of distant courts by chance.”) (citing RAR, Inc. v. Turner

  Diesel, Ltd., 107 F. 3d 1272, 1278 (7th Cir. 1997)).

                                       III.    CONCLUSION

         For all of the foregoing reasons, Plaintiff’s Complaint should be dismissed in its entirety

  with prejudice.

  Dated: July 9, 2018                                    Respectfully submitted,

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                                                   14
   
Case 3:18-cv-00966-MJR-DGW Document 52 Filed 07/09/18 Page 19 of 19 Page ID #173
   




                                      CERTIFICATE OF SERVICE


          I hereby certify that on July 9, 2018, I electronically filed the foregoing Memorandum of
  Law in Support of Motion to Dismiss for Lack of Personal Jurisdiction with the Clerk of Court
  using the CM/ECF system, which will send notification of such filing to the following:

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